Case 2:Ol-cv-02795-BBD-dkv Document 57 Filed 05/23/05 Page 1 of 2 Page|D 50

Fn.ED et _ ,"._ ._ e.c.
IN THE UNITED sTATES DISTRICT cOURT
FOR THE weeTERN DISTRICT OF TENNESSEE ~ .,,
wEeTERN DIvIs:ON 05 HM 23 ’W 8' 03

 

 

UNITED STATES OF AMERICA,
Plaint;iff,

v. NO. 01-2795

JAMES WILLIAM CALDWELL,

Defendant.

_.,-._._,-_,~.,`.._/~.._,~_/\,,~.,~._/

 

ORDER

 

It is ORDERED that this matter is hereby transferred tc the
Honorable Bernice B. DOnald in exchange for an equivalent case.
The parties shall, en all pleadings and correspondence related to

this matter, change the judge's initials in the case number from

Ol-2795-Ml/V to 0142795-D/V.

, '\!
l'l` lS SO ORDERED this jt day Of May, 2005.

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BN_ HIPPS MccALLA

 

l D STA'I`ES DlS'l"RICT JUDGE

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Thts document entered on the docket sheet |n coppliance 57
with Ftu|e 58 and,'or 79{3) FRCP on 5 ’ ZJ’C~J .

DISTRIT COURT - WESTENR ISRICT oF TNNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

